              Case 1:06-cr-00313-DAD Document 279 Filed 12/08/08 Page 1 of 2


 1   JOHN F. GARLAND #117554
     Attorney at Law
 2   1713 Tulare Street, Suite 221
     Fresno, California 93721
 3
     Telephone: (559) 497-6132
 4
     Attorney for Defendant,
 5   THEARITH PRAK
 6
 7                      IN THE UNITED STATES DISTRICT COURT FOR THE
 8                               EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,        )               Case No. 1: 06 CR 00313 LJO
10                                    )
            Plaintiff,                )               STIPULATION TO CONTINUE
11                                    )               SENTENCING HEARING;
                 v.                   )               ORDER DENYING CONTINUANCE
12                                    )
     THEARITH PRAK and                )
13   SAVATH PRAK,                     )
                                      )
14          Defendants.               )
     _________________________________)
15
16          Defendants, THEARITH PRAK and SAVATH PRAK, through their counsel, John F.
17   Garland and Joan Jacobs Levie, and the United States of America, through its counsel, McGregor
18   W. Scott, United States Attorney and Laurel J. Montoya, Assistant United States Attorney,
19   hereby stipulate to continue the defendant’s sentencing hearing from December 12, 2008 to
20   February 27, 2009 at 8:30 a.m. This continuance is necessary to allow the parties sufficient time
21   to investigate matters relating to sentencing.
22          The parties further stipulate that any delay resulting from this continuance shall be
23   excluded on the following basis:
24          a. Title 18 United States Code Section 3161(h)(8)(A) - that the ends of justice served by
               taking such action outweighs the best interest of the public and the defendant in a
25             speedy trial.
26
     Dated: December 8, 2008                                     /s/ John F. Garland
27                                                                 John F. Garland
                                                               Attorney for Defendant
28                                                              THEARITH PRAK


                                                       1
              Case 1:06-cr-00313-DAD Document 279 Filed 12/08/08 Page 2 of 2


 1
 2
     Dated: December 8, 2008                                      /s/ Joan Jacobs Levie
 3                                                                  Joan Jacobs Levie
                                                                  Attorney for Defendant
 4                                                                  SAVATH PRAK
 5
 6   Dated: December 8, 2008                                       McGregor W. Scott
                                                                  United States Attorney
 7
 8                                                             /s/ Laurel J. Montoya
                                                           By: LAUREL J. MONTOYA
 9                                                              Assistant U.S. Attorney
10
11
                                             ORDER
12
13   The request that the sentencing hearing for defendants THEARITH PRAK and
14   SAVATH PRAK be continued to February 27, 2009 at 8:30 a.m. is denied. Page one, lines
15   20-21 do not contain the required specificity to allow the Court to determine whether or not
16   good cause exists.
17
18
19   IT IS SO ORDERED.
20   Dated:     December 8, 2008                     /s/ Lawrence J. O'Neill
     b9ed48                                      UNITED STATES DISTRICT JUDGE
21
22
23
24
25
26
27
28


                                                     2
